                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

VICTOR MARTINEZ-ARRELLANO,                        )
                                                  )
          Petitioner,                             )        Case No. 1:10-CR-59; 1:13-CV-201
                                                  )
v.                                                )        Judge Travis R. McDonough
                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
          Respondent.                             )


                                   MEMORANDUM OPINION



          Before the Court is Petitioner Victor Martinez-Arellano’s motion to set aside, vacate, or

correct sentence pursuant to 28 U.S.C. § 2255. (Doc. 220.) For the reasons stated hereafter,

Petitioner’s motion will be DENIED.

     I.   BACKGROUND

          On April 6, 2010, Petitioner and four other individuals were arrested following the

controlled delivery of a truckload of marijuana to a car wash in Chattanooga, Tennessee. (Doc.

217, at 1.) In a two-count indictment, Petitioner and four co-defendants were charged with: (1)

conspiracy to distribute one hundred kilograms or more of marijuana in violation of 21 U.S.C. §§

841(a)(1) and 846; and (2) aiding and abetting in attempting to possess with intent to distribute

one hundred kilograms or more of marijuana in violation of 18 U.S.C. § 2 and 21 U.S.C. §§

841(a)(1) and 846. (Doc. 31, at 1–3.)

          Only Petitioner proceeded to trial, and, on January 26, 2011, a jury found Petitioner

guilty as to Count I of the indictment, but not guilty as to Count II. (Doc. 149, at 1–3.) The

Court later sentenced Petitioner to 63 months imprisonment. (Doc. 201, at 2.) Petitioner



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appealed his conviction to the United States Court of Appeals for the Sixth Circuit challenging

the sufficiency of the evidence presented to support his conspiracy conviction. (Doc. 217, at 2.)

Holding that the evidence was sufficient to support his conspiracy conviction, the Sixth Circuit

affirmed the jury’s guilty verdict as to Count I of the indictment. (Id. at 4.)

       In the present motion, Petitioner requests that the Court vacate his sentence pursuant to

28 U.S.C. § 2255. (Doc. 220.) As the basis for his motion, Petitioner argues he received

ineffective assistance of counsel because counsel: (1) “acted as an agent for the prosecution to

forcefully collect[] incriminating evidence from Petitioner”; (2) “failed to call [a] material

witness for the defense, despite repeated requests from Petitioner”; (3) “failed to impeach three

of government [sic] star witnesses’ testimonies when they committed perjury on the stand”; (4)

“failed to request [an] ‘informant instruction’ where one informant was paid for his testimony”;

and (5) “fail[ed] to include questions given by Petitioner in [counsel’s] cross-examination of the

testifying codefendants.” (Doc. 220, at 1.) Petitioner also argues the Court should vacate his

sentence because the Government engaged in prosecutorial misconduct, the Court gave an

improper jury instruction, and the Court attributed the wrong quantity of marijuana to him at

sentencing.

 II.   STANDARD OF LAW

       A prisoner in federal custody may file a motion to vacate, set aside, or correct sentence

pursuant to 28 U.S.C. § 2255, “claiming the right to be released upon the ground that the

sentence was imposed in violation of the Constitution or laws of the United States, or that the

court was without jurisdiction to impose such sentence, or that the sentence was in excess of the

maximum authorized by law, or is otherwise subject to collateral attack.” 28 U.S.C. § 2255.

Relief under § 2255 is limited, however, to: (1) errors involving lack of jurisdiction; (2)




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constitutional violations; and (3) those nonconstitutional errors that constitute “fundamental

defect[s] which inherently result[] in a complete miscarriage of justice.” Reed v. Farley, 512

U.S. 339, 349, 354 (1994) (quoting Hill v. United States, 368 U.S. 424, 428 (1962)); United

States v. Addonizio, 442 U.S. 178, 185 (1979).

          Ineffective assistance of counsel is a recognized constitutional violation that, when

adequately shown, warrants relief under § 2255. The two-prong test set forth in Strickland v.

Washington, 466 U.S. 668, (1984), governs claims of ineffective assistance of counsel raised

pursuant to 28 U.S.C. § 2255. See Huff v. United States, 734 F.3d 600, 606 (6th Cir. 2013). To

establish ineffective assistance of counsel, a defendant must show that counsel’s performance

was deficient and that the deficient performance prejudiced the defense so as to render the

proceedings unfair and the result unreliable. Strickland v. Washington, 466 U.S. 668, 687

(1984). In assessing counsel’s performance, a court must presume that counsel’s questioned

actions might have been sound strategic decisions and must evaluate the alleged errors or

omissions from counsel’s perspective at the time the conduct occurred and under the

circumstances of the particular case. Id. at 689. Only when the challenged actions are “outside

the range of professionally competent assistance” will counsel’s performance be considered

constitutionally deficient. Id. at 690. To demonstrate prejudice, a petitioner must show “a

reasonable probability that, but for [counsel’s acts or omissions], the result of the proceedings

would have been different.” Id. at 694. “An error by counsel, even if professionally

unreasonable, does not warrant setting aside the judgment of a criminal proceeding if the error

had no effect on the judgment.” Id. at 691; see also Smith v. Robbins, 528 U.S. 259, 285–86

(2000).




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III.   ANALYSIS

            A. Ineffective Assistance of Counsel

       Petitioner first argues he received ineffective assistance of counsel because his attorney

convinced him to sign a stipulation as to the drug quantity recovered from the controlled

delivery. Petitioner argues that he did not want to sign this stipulation and that, without the

stipulation, the Government could not prove its case against him. The stipulation at issue

provides:

       The parties in this matter, the United States of America and the defendant Victor
       Martinez-Arrellano hereby agree and stipulate that the substance recovered, a
       photograph of which is attached (Exhibit 1A) in the above-styled case was 100
       kilograms or more of marijuana. The parties further stipulate that the official
       forensic chemistry report setting out these facts is admitted as Government’s
       Exhibit 1B.

(Doc. 176, at 58–59.)

       Even assuming that Petitioner’s counsel was deficient in convincing him to sign the

stipulation and allowing the stipulation to be presented at trial, Petitioner’s argument fails

because other evidence submitted at trial shows that the drug quantity recovered from the

controlled buy was 100 kilograms or more of marijuana. Marco Uribe, Jr., an individual who

assisted law enforcement in executing the controlled buy, testified that the truckload of

marijuana delivered to the carwash on April 6, 2010, was approximately 854 pounds of

marijuana, which is equivalent to approximately 387 kilograms. (Doc. 175, at 79.) Based on

this evidence, even in the absence of the stipulation, a jury could have concluded that the

quantity of marijuana recovered from the controlled buy exceeded one hundred kilograms of




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marijuana. Accordingly, Petitioner has failed to demonstrate that counsel’s allegedly deficient

performance prejudiced him such that the result of the trial would have been different.1

       Petitioner next argues that he received ineffective assistance of counsel because his

attorney failed to call material witnesses. At trial, co-defendant Toriq Johnson testified against

Petitioner. Petitioner contends he received ineffective assistance because his counsel refused to

call Johnathan Stafford as a witness to impeach Johnson’s testimony. According to Petitioner,

Stafford overhead Johnson and another co-defendant saying they were going to testify against

Petitioner to get a reduction in sentence even if it meant they had to lie. Petitioner, however, has

not provided an affidavit or other evidence demonstrating that Stafford would testify in this

manner. As such, there is nothing in the record to show deficient performance or any prejudice

accruing from counsel’s failure to call Stafford as a witness.2 See Tinsley v. Million, 399 F.3d

796, 810 (6th Cir. 2005) (affirming denial of an ineffective assistance claim based on counsel's

failure to call witnesses where a petitioner did not “introduce [ ] affidavits or any other evidence

establishing what they would have said”). Additionally, even assuming that Stafford would have

impeached Johnson’s credibility if called as a witness, Petitioner has failed to demonstrate that

counsel’s failure to call Stafford prejudiced him such that the result of the trial would have been


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  Petitioner also argues that, by obtaining the stipulation as to the drug amount recovered, the
Government violated and improperly intruded on his attorney-client relationship. To the extent
Petitioner argues this serves as a separate basis for setting aside or vacating his sentence, that
argument fails because Petitioner cannot establish that the Government impermissibly intruded
on the attorney-client relationship or that prejudice resulted. See United States v. Moses, 337 F.
App’x 443, 448 (6th Cir. 2009). First, the Court finds that obtaining a stipulation as to the drug
amount recovered is not an intrusion on the attorney-client relationship. Second, as discussed
above, the Government provided other evidence of the drug amount at trial. Accordingly, even
in the absence of the stipulation, a jury could have concluded that the quantity of marijuana
recovered from the controlled buy exceeded one hundred kilograms of marijuana.
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  Petitioner has submitted his own affidavit, but it only states “[c]ounsel refused to call witness
(Wesley Stafford) and another individual subpoenaed by him to prove ‘motive’ (for Toriq’s
testimony) and alibi for Rafael Mora-Perez’s statement, respectively.” (Doc. 220-2, at 1–2.)


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different. Indeed, testimony elicited from other witnesses, including testimony from an

individual who assisted law enforcement in executing the controlled buy, and evidence presented

at trial, including video surveillance, was sufficient for a jury to conclude that Petitioner was

guilty of conspiracy to distribute marijuana in violation of 21 U.S.C. §§ 841(a)(1) and 846.

        Petitioner also argues that he received ineffective assistance of counsel because his

counsel failed to call as a witness the agent who transported the marijuana used in the controlled

buy from Texas to Tennessee. Petitioner asserts that his counsel should have called this agent as

a witness because he was “fired due to his misconduct and mishandling of a load of marijuana

that was lost in North Carolina.” (Doc. 220, at 12.) In support of this argument, Petitioner cites

to an e-mail between his counsel and the Government in which the Government disclosed that

the agent put in a false or misleading statement in order to procure a search of a business in

Texas and that drugs used in a controlled delivery in an unrelated case involving the agent were

lost in North Carolina. (Doc. 220-1, at 1–2.)

        Again, however, Petitioner has failed to demonstrate that counsel rendered deficient

assistance or that he was prejudiced by counsel’s failure to call the agent as a witness at trial.

Even assuming the agent would have admitted to misconduct in another unrelated case,

Petitioner has not identified how the agent’s testimony would have changed the outcome of his

trial. Millender v. Adams, 376 F.3d 520, 527 (6th Cir. 2004) (“A defense counsel has no

obligation to call or even interview a witness whose testimony would not have exculpated the

defendant.”) Accordingly, Petitioner has failed to demonstrate that his counsel’s failure to call

the agent as a witness was outside the range of professionally competent assistance or that there

was a reasonable probability that, but for counsel’s failure to call the agent, the result of the trial

would have been different.




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       Petitioner next argues that he received ineffective assistance because his counsel failed to

point out inconsistencies in testimony from co-defendants. Specifically, Petitioner takes issue

with testimony elicited from co-defendant Armando Isaola in which Isaola testified that he was

going to meet Petitioner at the car wash, but later testified that he picked up Petitioner and took

him to the car wash. Petitioner also takes issue with co-defendant Johnson’s testimony because

he testified that his brother was not involved in the controlled buy, but video evidence and his

brother’s guilty plea demonstrated that his brother was involved. Effectively, Petitioner contends

his counsel was ineffective because he failed to sufficiently attack the credibility of his co-

defendants’ testimony during cross-examination. Counsel’s decisions regarding questioning of

witnesses, however, are matters of trial strategy and, thus, are “effectively insulated” from

review in the context of a motion made pursuant to 28 U.S.C. § 2255. Hurley v. United States,

10 F. App’x 257, 260 (6th Cir. 2001). Accordingly, Petitioner has failed to demonstrate that

counsel’s alleged failure to highlight inconsistencies in testimony prejudiced him such that the

outcome of his trial would have been different.

       Next, Petitioner contends that he received ineffective assistance of counsel because his

attorney failed to request that a “paid informant instruction” be included in the jury charge as it

related to Marco Uribe’s testimony. Even if counsel was deficient in not requesting a paid

informant instruction, Petitioner has not demonstrated that prejudice resulted. First, Uribe

testified that he was a paid informant. (Doc. 175, at 108–109.) More importantly, during the

jury charge, the Court included the following instruction:

       As I told you at the beginning of the trial, an important part of your job as jurors
       is to decide how credible or believable each witness was. This is your job, not
       mine. It is up to you to decide if a witness’s testimony was believable and how
       much weight you think it deserves. You are free to believe everything a witness
       said, or only part of it, or none of it at all, but you should act reasonably and
       carefully in making these decisions.



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       ...

       Ask yourself if the witness had any relationship to the government or to the
       defendant or anything to gain or lose from the case which might influence the
       witness’s testimony. Ask yourself if the witness had any bias or prejudice or
       reason for testifying that might cause the witness to lie or to slant the testimony in
       favor of one side or the other.

(Doc. 176, at 81.) Given the Court’s inclusion of this instruction in the jury charge, Petitioner

has failed to demonstrate that counsel’s failure to request a paid informant instruction prejudiced

him such that the outcome of his trial would have been different.

       Petitioner also argues that he received ineffective assistance of counsel because his

attorney failed to ask questions that Petitioner provided during cross-examinations. Specifically,

Petitioner takes issue with his attorney’s failure to use questions he provided during the

examination of co-defendant Rafael Mora-Perez. However, as discussed above, counsel’s

decisions regarding questioning of witnesses, however, are matters of trial strategy and, thus, are

“effectively insulated” from review in the context of a motion made pursuant to 28 U.S.C. §

2255. Hurley, 10 F. App’x at 260. Moreover, review of the trial transcript reveals that counsel’s

examination of Mora-Perez (also referred to as “Lasaro Rosas”) was thorough and did not fall

below an objectively reasonable standard. (See Doc. 176, at 24–34.) Accordingly, Petitioner has

failed to demonstrate that his counsel’s assistance was deficient or that the result of the trial

would have been different if his attorney asked the questions he provided.

       Finally, Petitioner argues that his counsel’s performance was not objectively reasonable

because he employed a trial strategy aimed at showing that Petitioner was involved in a cocaine

conspiracy instead of a marijuana conspiracy. Petitioner represents that he informed counsel that

he disapproved of this strategy. Although Petitioner has attached a letter from his counsel

indicating that counsel was considering employing this strategy, review of the trial transcript

reveals that Petitioner’s counsel did not actually employ this strategy at trial. Accordingly,


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Petitioner has not demonstrated that his counsel was deficient or that counsel’s conduct

prejudiced him such that the outcome of his trial would have been different.

            B. Other Grounds For Relief

        In addition to claims of ineffective assistance of counsel, Petitioner argues that his

sentence should be set aside or vacated because: (1) the Government engaged in prosecutorial

misconduct by misrepresenting evidence during closing arguments; (2) the Court gave improper

jury instructions; and (3) the Court attributed an incorrect quantity of marijuana to him at

sentencing. Petitioner did not, however, assert any of these arguments on direct appeal. (See

Doc. 217.) As such, these arguments are procedurally defaulted and may only be raised in a §

2255 motion if Petitioner can establish: (1) cause to excuse his failure to raise the claim on direct

appeal; and (2) actual prejudice. See Bousley v. United States, 523 U.S. 614, 621–22 (1998)

(“Where defendant has procedurally defaulted a claim by failing to raise it on direct review, the

claim may be raised only if the defendant can first demonstrate either ‘cause’ and actual

‘prejudice,’ . . . or that he is ‘actually innocent.’”) (internal citations omitted). In this case,

Petitioner has made no showing of cause and prejudice and, thus, is foreclosed from raising these

arguments in a § 2255 motion.

IV.     CONCLUSION

        For the reasons stated herein, Petitioner’s motion to set aside, vacate, or correct sentence

pursuant to 28 U.S.C. § 2255 (Doc. 220) is hereby DENIED.

        Additionally, pursuant to 28 U.S.C. § 2253(c)(2), the Court must also determine whether

to grant a certificate of appealability. A certificate should issue if petitioner has demonstrated a

“substantial showing of a denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). As a general

rule, the Sixth Circuit disapproves of blanket denials of certificates of appealability. See Murphy




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v. Ohio, 263 F.3d 466 (6th Cir. 2001). The District Court must “engage in a reasoned assessment

of each claim” to determine whether a certificate is warranted. Id. at 467. Each issue must be

considered under the standard set forth by Slack v. McDaniel, 529 U.S. 473 (2000). Id. Under

Slack, a “petitioner must demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong” to warrant a certificate. 529 U.S. at

484. After reviewing each of Petitioner’s claims in detail, the Court finds that reasonable jurists

could not conclude that Petitioner’s claims deserve further review. Therefore, because Petitioner

has failed to demonstrate a substantial showing of the denial of a constitutional right, a certificate

of appealability will not issue.

       A SEPARATE ORDER WILL ENTER.

                                               /s/ Travis R. McDonough
                                               TRAVIS R. MCDONOUGH
                                               UNITED STATES DISTRICT JUDGE




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